        Case 1:20-cv-00092-RAH-KFP Document 14 Filed 10/01/20 Page 1 of 1




                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

MICHAEL LOWE,                                  )
                                               )
             Plaintiff,                        )
                                               )
   v.                                          )    CIVIL ACTION NO. 1:20-CV-92-RAH
                                               )
MUNICIPAL COURT OF DOTHAN                      )
ALABAMA, et al.,                               )
                                               )
             Defendants.                       )

                                         ORDER

         On September 3, 2020, the Magistrate Judge entered a Recommendation (Doc.

 12) to dismiss this case without prejudice for Plaintiff’s failure to comply with this

 Court’s order to pay the required civil filing fee. The Plaintiff filed Objections. (Doc.

 13.)    After an independent review of the file and upon consideration of the

 Recommendation and Objections, it is ORDERED that:

        1.       The Objections are OVERRULED. (Doc. 13.)

        2.       The Recommendation of the Magistrate Judge is ADOPTED. (Doc. 12.)

        3.       This case is DISMISSED without prejudice for Plaintiff’s failure to comply

with the Court’s order to pay the required civil filing fee.

        A separate Final Judgment will be entered.

        DONE, this 1st day of October, 2020.

                                            /s/ R. Austin Huffaker, Jr.
                                     R. AUSTIN HUFFAKER, JR.
                                     UNITED STATES DISTRICT JUDGE
